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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE
__________________________________________
JOHN DOE ,                                 )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )  Civil Action No: 1:18-cv-00040-LM
                                           )
TRUSTEES OF DARTMOUTH COLLEGE,             )
                                           )
      Defendant.                           )
_________________________________________ )

   RESPONSE TO PLAINTIFF’S MOTION TO PROCEED UNDER A PSEUDONYM

        Defendant Trustees of Dartmouth College (“Dartmouth”) has no objection to Plaintiff’s

Motion to Proceed Under a Pseudonym, provided the individual referred to in the complaint as

Sally Smith also is referred to by a pseudonym.

                                            TRUSTEES OF DARTMOUTH COLLEGE

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March 1, 2018



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                                     Certificate of Service

        I certify that, on March 1, 2018, I caused a copy of this document to be served on counsel
of record for all parties that have appeared to date through the Court’s CM/ECF system.

                                             /s/ Katherine A. Guarino
                                             Katherine A. Guarino




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